            Case 1:22-cr-00082-JMC Document 35 Filed 06/08/22 Page 1 of 1
                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )      No. 22-082 (JMC)
                                             )
CHRISTOPHER ORTIZ,                           )
                                             )
                      Defendant.             )
                                             )

                                 NOTICE OF APPEARANCE

       Please enter the appearance of Assistant Federal Public Defender Maria Jacob on

behalf of the defendant, Christopher Ortiz, in the above captioned matter.

                                             Respectfully submitted,

                                             A. J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                                    /s/

                                             Maria N. Jacob
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